                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE


UNITED STATES OF AMERICA,                        )
                                                 )
                      Plaintiff,                 )
                                                 )
v.                                               )          No.3:03-cr-157
                                                 )          (PHILLIPS/ SHIRLEY)
                                                 )
GARY L. EMORY                                    )
                                                 )
                      Defendant.                 )



                                   ORDER OF DETENTION

               This matter came before the Court for a preliminary hearing and a detention

hearing on March 12, 2009. Tracee Plowell, Assistant United States Attorney, was present

representing the government and Jonathan Moffatt, Federal Defender was present representing

the defendant. At the hearing, however, counsel for the defendant stated to the Court that the

defendant wished to waive his right to a detention hearing a preliminary hearing and signed the

appropriate waiver.

               Pursuant to the defendant signing the waivers, the defendant will not have a

preliminary hearing but will proceed directly to the Revocation hearing before District

Judge Thomas Phillips on March 23,2009 at 3:00 pm.and that until that hearing,

defendant is to be detained. Federal Rules of Criminal Procedure 32.1 and 18 U.S.C %

3143(a). The government stated it had no objections. The defendant was present and

acknowledged he understood that by waiving his detention hearing he would remain in

custody. For good cause, and by agreement of the defendant, this detention hearing is



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waived and the defendant is detained.

       The defendant acknowledged in open court that he understands his rights and the

consequences of waiving his detention hearing.

             For good cause shown, the defendant’s request not to contest, and to waive

the detention hearing is hereby GRANTED.

             It is therefore ORDERED that:

             (1)     Defendant be detained.;

             (2)     Defendant be committed to the custody of the Attorney
                     General for confinement in a corrections facility separate, to
                     the extent practicable, from persons awaiting or serving
                     sentences or being held in custody pending appeal;

             (3)     Defendant be afforded reasonable opportunity for private
                     consultation with counsel; and

             (4)     On order of a court of the United States or on request of an
                     attorney for the government, the person in charge of the
                     corrections facility in which the defendant is confined
                     deliver the defendant to a United States marshal for the
                     purpose of an appearance in connection with any court
                     proceeding.


             IT IS SO ORDERED.

                                          ENTER:

                                            s/ C. Clifford Shirley, Jr.
                                          United States Magistrate Judge




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